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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 SHIRA PERLMUTTER,

                  Plaintiff,

 v.                                                        Case No. 1:25-cv-01659-TJK

 TODD BLANCHE et al.,

                  Defendants.


                                     JOINT STATUS REPORT

          Pursuant to the Court’s June 3, 2025 order, the parties have conferred and respectfully

request that the Court enter the following briefing schedule for Plaintiff’s motion for preliminary

injunction:

      •   Plaintiff’s motion for preliminary injunction: June 10

      •   Defendants’ opposition to Plaintiff’s motion: June 24

      •   Plaintiff’s reply in support of motion: July 1

      •   Hearing on preliminary injunction: The parties respectfully request that the Court

          schedule a hearing at its convenience for the week of July 7 or July 14-16.


Dated: June 4, 2025                                    Respectfully,

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